Case 2:03-cr-20475-.]DB Document 6 Filed 04/28/05 Page 1 of 2 Page|D 4

UNITED STATES DISTRICT COURT _ z j_
WESTERN DISTRICT OF TENNESSEE ' d
Western Division 7 w l_& m `_‘_g_b_;dm

'r,=.€,. DJST. z; i".

 

UNI'I`ED STATES OF AMERICA

_vs_ Case No. 2 :03 cr20475-B

WILLIAM VISOR

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM AC'I`

Upon motion of the Government, it is ORDERED that a detention hearing is set for
MONDAY, MAY 2, 2005 at 3:00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Cou rtroom No. 5, Third Floor, United States Courth ouse and F ederal Building, 167 North l\/Iain,
l\/lernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
l\/Iarshal and produced for the hearing

Dare; Aprii 27, 2005 __C::P?D
A GJ\-f--_.

TU'M. PHAM
uNirED srArEs MAGISTRATE JUDGE

 

1lt not held immediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion ot` the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142({)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1‘) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft`icer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'B§) Orc|er ofTemporary Detention

Thts document entered on the docket sheet fn compliance
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…TESISIC COUR - WESERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:03-CR-20475 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

